                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

   GREG ADKISSON, et al.,                   )
             Plaintiffs,                    )
   v.                                       )   No.: 3:13-CV-505-TAV-HBG
   JACOBS ENGINEERING GROUP, INC.,          )
             Defendant.                     )
                                            )         Lead Case Consolidated with
                                            )
   KEVIN THOMPSON, et al.,                  )
             Plaintiffs,                    )
   v.                                       )   No.: 3:13-CV-666-TAV-HBG
   JACOBS ENGINEERING GROUP, INC.,          )
             Defendant.                     )
                                            )         as consolidated with
                                            )
   JOE CUNNINGHAM, et al.,                  )
             Plaintiffs,                    )
   v.                                       )   No.: 3:14-CV-20-TAV-HBG
   JACOBS ENGINEERING GROUP, INC.,          )
             Defendant.                     )
                                            )
                                            )
   BILL ROSE,                               )
             Plaintiff,                     )
   v.                                       )   No.: 3:15-CV-17-TAV-HBG
   JACOBS ENGINEERING GROUP, INC.,          )
             Defendant.                     )
                                            )
                                            )
   CRAIG WILKINSON, et al.,                 )
             Plaintiffs,                    )
   v.                                       )   No.: 3:15-CV-274-TAV-HBG
   JACOBS ENGINEERING GROUP, INC.,          )
             Defendant.                     )
                                            )
                                            )
   ANGIE SHELTON, as wife and next of       )
   Kin on behalf of Mike Shelton, et al.,   )
                 Plaintiffs,                )
   v.                                       )   No.: 3:15-CV-420-TAV-HBG
   JACOBS ENGINEERING GROUP, INC.,          )
                 Defendant.                 )
                                            )




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   JOHNNY CHURCH,                                      )
             Plaintiff,                                )
   v.                                                  )      No.: 3:15-CV-460-TAV-HBG
   JACOBS ENGINEERING GROUP, INC.,                     )
             Defendant.                                )
                                                       )
                                                       )
   DONALD R. VANGUILDER, JR.,                          )
              Plaintiff,                               )
   v.                                                  )      No.: 3:15-CV-462-TAV-HBG
   JACOBS ENGINEERING GROUP, INC.,                     )
              Defendant.                               )
                                                       )
                                                       )
   JUDY IVENS, as sister and next of kin,              )
   on behalf of JEAN NANCE, deceased,                  )
                  Plaintiff,                           )
   v.                                                  )       No.: 3:16-CV-635-TAV-HBG
   JACOBS ENGINEERING GROUP, INC.,                     )
                  Defendant.                           )
                                                       )
                                                       )
   PAUL RANDY FARROW,                                  )
             Plaintiff,                                )
   v.                                                  )        No.: 3:16-CV-636-TAV-HBG
   JACOBS ENGINEERING GROUP, INC.,                     )
             Defendant.                                )
                                                       )

                            MEMORANDUM OPINION AND ORDER

          These cases are before the undersigned pursuant to 28 U.S.C. § 636, the Rules of this Court,

   and Standing Order 13-02. Now before the Court is Defendant Jacobs Engineering Group, Inc.’s

   Motion to Exclude Opinions of Plaintiffs’ Experts on General Causation [Doc. 240 in Adkisson,

   3:13-CV-505; Doc. 235 in Thompson, 3:13-CV-666; Doc. 216 in Cunningham, 3:14-CV-20; Doc.

   162 in Rose, 3:15-CV-17; Doc. 170 in Wilkinson, 3:15-CV-274; Doc. 151 in Shelton, 3:15-CV-

   420; Doc. 153 in Church, 3:15-CV-460; Doc. 155 in Vanguilder, 3:15-CV-462; Doc. 81 in Ivens,

   3:16-CV-635; and Doc. 77 in Farrow, 3:16-CV-636]. On May 17, 2018, Plaintiffs filed a response




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   in opposition [Doc. 261],1 and on May 24, 2018, Jacobs Engineering Group, Inc., (“Defendant”)

   filed a reply [Doc. 264]. The parties have fully briefed the issues presented therein, and on June

   15, 2018, the parties appeared before the Court to present oral argument on the motion. The Court

   finds that the motion is now ripe for adjudication. For the reasons stated herein, the Court will

   DENY the motion.

   I.     Background

          This consolidated action involves a group of individual Plaintiffs who worked, or had

   spouses or next of kin who worked, on the Tennessee Valley Authority’s (“TVA”) fly ash clean-

   up, removal, and recovery project at the Kingston Fossil Fuel Plant (“the Site”) following the

   December 22, 2008 ash spill in Roane County, Tennessee. [See Doc. 59]. Defendant was hired

   by TVA in 2009 as construction manager of the Site. [Doc. 11-1]. In its role as construction

   manager, Defendant provided project planning, management, and oversight to assist TVA in the

   overall recovery and remediation of the Site. [Id. at 4]. Plaintiffs allege that Defendant negligently

   and recklessly executed its duties and responsibilities, causing Plaintiffs to sustain multiple

   personal injuries, including pulmonary injuries, leukemia, sinus injuries, and skin problems, as a

   result of “continuous, unlawful exposure to arsenic, the neurotoxin mercury, barium, strontium,

   thallium, lead, silica,-quartz, asbestos, radioactive material, selenium, aluminum oxide, iron oxide,

   calcium oxide, boron and other hazardous substances associated with” fly ash while working at

   the Site. [Doc. 59 at ¶ 48, 89]. Plaintiffs have asserted claims of negligence, negligence per se,

   recklessness, fraud, misrepresentation, and strict liability of ultra-hazardous or abnormally

   dangerous activity. [Id. at ¶ 70-125].



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           Unless otherwise indicated, citations to the record refer to the docket entries in Adkisson,
   3:13-CV-505.

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          While these cases had initially been consolidated for the limited purpose of discovery and

   motion practice, Chief District Judge Varlan ordered a bifurcated, two phase, trial plan on January

   30, 2017. [Doc. 136]. “Phase I will involve issues and evidence relating to: (1) whether defendant

   owed plaintiffs a legal duty; (2) whether defendant breached that duty; and (3) whether defendant’s

   breach was capable of causing plaintiffs’ alleged injuries,” and “Phase II will involve issues and

   evidence relating to: (1) specific causation with respect to individual plaintiffs; (2) each plaintiff’s

   alleged injuries; and (3) the extent to which individual plaintiffs are entitled to damages.” [Doc.

   136 at 7] (emphasis in original). In sum, Phase I will deal with the issue of general causation while

   Phase II will deal with the issue of specific causation.      [Id.]. Phase I of the trial is currently

   scheduled for October 9, 2018. [Doc. 265].

          Plaintiffs were ordered to disclose their expert witnesses on or before May 1, 2017, for

   Phase I of the trial. [Doc. 138 at 3]. Plaintiffs timely identified nine expert witnesses, including

   Paul Terry, Ph.D., M.P.G., F.A.C.E., who is the only expert witness at issue in these cases. 2

   Plaintiffs, however, did not disclose a signed written report for Dr. Terry, because they believed

   he was not an expert witness within the meaning of Federal Rule of Civil Procedure Rule

   26(a)(2)(B). [Doc. 162 at 6-7]. Following a discovery conference, the Court found that Dr. Terry

   was required to produce a written report and ordered Plaintiffs to disclosure such a report if they

   intended to use Dr. Terry as an expert witness. [Id. at 10, 14]. On July 14, 2017, Plaintiffs

   produced a two-page signed statement from Dr. Terry. [Doc. 237-1 at 2-3]. Dr. Terry stated he

   would testify “as to how the odds ratios in this matter indicate that the higher incidence of these




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             When Plaintiffs filed their response to the instant motion, they withdrew all of their
   proposed experts for Phase I of the trial with the exception of Dr. Terry. [Doc. 261 at 3].
   Therefore, the Court’s discussion of the background and procedural history of these cases is limited
   in relevance to Plaintiffs’ disclosure of Dr. Terry.
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   health problems in the workers can be linked statistically to their exposure to fly ash,” that “[t]here

   was an unusually high occurrence of disease found in the remediation workers that include

   leukemia, skin problems, lung cancer, other cancers, low testosterone, sinus, heart, pulmonary,

   breathing problems, neurological, and intestinal problems, including an environmental association

   of other health conditions and the statistical odds of these conditions caused, aggravated or

   contributed by fly ash exposure,” and that “the data suggested that the fly ash increased the risk of

   having these diseases and conditions when compared with data from the population as a whole or

   a control group of similar workers who were not exposed to fly ash.” [Doc. 237-1 at 2]. Dr. Terry

   did not describe the type of study he relied upon or the methodology employed, aside from stating

   that he formed his opinions based on epidemiological healthcare questionnaires, Plaintiffs’

   interrogatory responses, pictures, Defendant’s documents, and other discovery material. [Id. at 2-

   3].

          During a second discovery conference held by the Court on August 15, 2017, Defendant

   complained that Dr. Terry’s report was deficient under Rule 26(a)(2)(B) as it failed to set forth

   with specificity the “basis and reasons” for, or the “facts and data,” supporting his opinions. [See

   Doc. 178 at 3]. Defendant also alleged that the report failed to satisfy Plaintiffs’ burden on general

   causation. [Id.]. In this regard, the parties highlighted their disagreement on the standard of proof

   for establishing general causation during the hearing. Defendant cited to various case law for the

   proposition that Plaintiffs’ expert reports failed to identify the level or dose of fly ash exposure

   that is necessary to cause the injuries alleged, Plaintiffs’ actual exposure level, or whether

   Plaintiffs’ exposure level is sufficient to cause the injuries alleged, elements that Plaintiffs

   contended are not necessary to establish general causation.

          Defendant formally challenged the merits of Plaintiffs’ expert proof on general causation



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   less than two months later when it filed its Motion for Partial Summary Judgment on General

   Causation on October 6, 2017. [Doc. 191]. Plaintiffs responded in turn on October 27, 2017,

   attaching to their response a second report by Dr. Terry. [Doc. 205-6]. In his second, six-page

   report, Dr. Terry stated he was conducting an epidemiological study “to estimate the association

   between exposure and disease” through a “[r]etrospective observational/historical cohort study.”

   [Id. at 1-2]. Though the study was “incomplete,” Dr. Terry provided preliminary opinions and

   “anticipated” findings, concluding that “[a]t this point in time, the data suggests that the alleged

   injuries of the plaintiffs being caused by extended exposure to fly ash is biologically plausible

   because exposed workers have higher occurrence of several diseases and health conditions

   compared with general population and our control group.” [Id. at 2] (emphasis in original). Dr.

   Terry did not provide the data he had thus far collected or relied upon in making his preliminary

   findings, and his report did not address Defendant’s claim regarding the necessity of exposure data

   in terms of the level or dose of fly ash exposure that must be shown to establish general causation.

          On November 9, 2017, Chief District Judge Varlan continued Phase I of the trial and

   amended certain deadlines. [Doc. 215]. Chief District Judge Varlan denied Defendant’s Motion

   for Partial Summary Judgment on General Causation without prejudice with leave to refile under

   the new dispositive motion deadline. [Id.]. Following the continuance order, there was some

   confusion among the parties whether the order also reset the expert disclosure deadline. [See Docs.

   226 and 229]. After conducting a status conference before Chief District Judge Varlan and a

   second status conference before the undersigned, the Court determined that the expert disclosure

   deadline had not been reset. [Doc. 230 at 4-5]. Nonetheless, the Court afforded Plaintiffs the

   opportunity to demonstrate why the expert disclosure deadline should be reopened. [Id. at 6].

   Plaintiffs thereafter submitted that they sought to introduce three new expert witnesses, including



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   another epidemiologist. [Doc. 233 at 5-7]. Although Plaintiffs disagreed with Defendant’s theory

   on general causation, Plaintiffs explained that they needed these new experts “to make sure they

   meet the Court’s expectations for proof of ‘general causation’ for Phase I” should the Court agree

   with Defendant’s theory on general causation. [Id. at 9-10]. On March 9, 2018, the Court

   determined that Plaintiffs had not acted diligently in seeking an extension of time and therefore

   they could not demonstrate good cause or excusable neglect for their delay in seeking a

   modification of the expert disclosure deadline. [Doc. 235].

          On March 19, 2018, Defendant filed the instant motion, moving to exclude all of Plaintiffs’

   expert witnesses for Phase I of the trial, including Dr. Terry. [Doc. 240]. Plaintiffs responded on

   May 17, 2018, withdrawing all of their previously disclosed expert witnesses except for Dr. Terry.

   [Doc. 261 at 3]. Attached as an exhibit to their response is a third report by Dr. Terry. [Doc. 261-

   1]. Dr. Terry’s latest report was originally disclosed on April 30, 2018, when Plaintiffs responded

   to Defendant’s renewed Motion for Partial Summary Judgment on General Causation. [Doc. 253-

   4]. In Dr. Terry’s latest, 95-page report, he explains that his current report supplements his two

   prior reports from July and October 2017 which sought to conduct an epidemiological study that

   estimated the associations between exposure to coal ash and specific diseases among workers at

   the Site, including Plaintiffs. [Id. at 2]. Dr. Terry explained that his planned study relied on

   questionnaire responses from exposed coal ash cleanup workers and a control group that consisted

   of employees in the same industry. [Id.]. Because Plaintiffs’ counsel could not secure responses

   from the control group in a timely manner, Dr. Terry states that he was forced to terminate his

   epidemiological study. [Id.].

          Dr. Terry goes on to explain that in March 2018, Plaintiffs’ counsel requested that he

   “conduct a far more thorough general causation analysis of the published epidemiological



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   literature regarding illnesses and physical conditions associated with exposure to coal ash,” thus

   leading to his third report. [Id.]. Dr. Terry’s general causation analysis, which seeks to answer

   whether “exposure to a chemical or other factor [can] cause a disease,” now employs an extensive

   literature review methodology to determine whether specific components of coal fly ash reported

   to be present at the Site—fine particulate matter,3 arsenic, cadmium, chromium, lead, nickel,

   vanadium, and naturally occurring radioactive materials—are causally associated with the specific

   diseases reported by Plaintiffs, including hypertension, coronary artery disease, lung cancer,

   leukemia, non-melanoma skin cancer, allergic contact dermatitis, peripheral neuropathy, asthma,

   chronic obstructive pulmonary disease, and various respiratory conditions such as cough, sore

   throat, dyspnea on exertion, chest pain or discomfit, bronchitis, and emphysema. [Id. at 4-6]. In

   sum, Dr. Terry opines that his literature review supports a finding that “a number of the diseases

   found among one or more [P]laintiffs were determined by general causation analyses to be causally

   associated with one or more of these components of fly ash . . . .” [Id. at 5].

              Defendant filed its reply on May 24, 2018, objecting to the admissibility of Dr. Terry’s

   third report on several grounds, including that his report (1) is not a supplementation pursuant to

   Federal Rule of Civil Procedure 26(e) but is an entirely new opinion that should be excluded under

   Federal Rule of Civil Procedure 37(c), and (2) should also be excluded under Daubert and Federal

   Rule of Evidence 702 because the opinions expressed in his report are not reliable. [Doc. 264].

   II.        ANALYSIS

              The Court has thoroughly reviewed the parties’ positions in these cases and having

   considered the arguments raised in their briefs and during the June 15, 2018 motion hearing, the




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                  That is, particles having an aerodynamic diameter of 2.5 µ (microns) or less. [Doc. 261-
   1 at 5].
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   Court finds that Dr. Terry’s latest report disclosed on April 30, 2018, is not a supplementation

   under Federal Rule of Civil Procedure 26(e). Rather, it is a “new” expert report. However, the

   Court also finds that Plaintiffs’ late disclosure of the new report is harmless, and therefore the

   report will not be excluded under Federal Rule of Civil Procedure 37(c). Furthermore, the Court

   finds that Dr. Terry’s report is admissible under Daubert and Federal Rule of Evidence 702. The

   Court will address each finding in turn.

          A.        Federal Rule of Civil Procedure 26

          The Court begins its analysis with an overview of the expert disclosure requirements found

   in Rule 26. Pursuant to Rule 26(a), “if the witness is one retained or specially employed to provide

   expert testimony in the case,” the disclosure “must” include a signed written report that contains

   the following:

                    (i) a complete statement of all opinions the witness will express and
                    the basis and reasons for them;

                    (ii) the facts or data considered by the witness in forming them;

                    (iii) any exhibits that will be used to summarize or support them;

                    (iv) the witness’s qualifications, including a list of all publications
                    authored in the previous 10 years;

                    (v) a list of all other cases in which, during the previous 4 years, the
                    witness testified as an expert at trial or by deposition; and

                    (vi) a statement of the compensation to be paid for the study and
                    testimony in the case.

   Fed. R. Civ. P. 26(a)(2)(B). “A party must make these disclosures at the time and in the sequence

   that the court orders.” Fed. R. Civ. P. 26(a)(2)(D). Rule 26(a)(2)(B) requires a report to “be

   complete such that opposing counsel is not forced to depose an expert in order to avoid an ambush

   at trial; and moreover the report must be sufficiently complete so as to shorten or decrease the need



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 for expert depositions and thus to conserve resources.” R.C. Olmstead, Inc., v. CU Interface, LLC,

 606 F.3d 262, 271 (6th Cir. 2010) (quoting Salgado v. Gen. Motors Corp., 150 F.3d 735, 742 n. 6

 (7th Cir. 1998)). Put another way, “[e]xpert reports must include ‘how’ and ‘why’ the expert

 reached a particular result, not merely the expert’s conclusory opinions.” Id.

        Rule 26 goes on to explain the requirement for supplementing expert disclosures:



                (e) Supplementing Disclosures and Responses.

                        (1) In General. A party who has made a disclosure
                        under Rule 26(a)--or who has responded to an interrogatory,
                        request for production, or request for admission--must
                        supplement or correct its disclosure or response:

                                 (A) in a timely manner if the party learns that in some
                                 material respect the disclosure or response is
                                 incomplete or incorrect, and if the additional or
                                 corrective information has not otherwise been made
                                 known to the other parties during the discovery
                                 process or in writing; or

                                 (B) as ordered by the court.

                        (2) Expert Witness. For an expert whose report must be
                        disclosed under Rule 26(a)(2)(B), the party’s duty to
                        supplement extends both to information included in the
                        report and to information given during the expert’s
                        deposition. Any additions or changes to this information
                        must be disclosed by the time the party’s pretrial disclosures
                        under Rule 26(a)(3) are due.

 Fed. R. Civ. P. 26(e)(1)-(2).

        Here, Plaintiffs’ expert disclosures were due May 1, 2017. [Doc. 138 at 3]. At that time,

 Plaintiffs identified Dr. Terry but did not disclose a written report until July 14, 2017. [Doc. 237-

 1 at 2-3]. Dr. Terry provided a second report on October 27, 2017, which clarified that his opinions

 were still preliminary, as he continued to conduct an epidemiological study. [Doc. 205-6]. Finally,



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 Dr. Terry provided a third report on April 30, 2018, explaining that he could not complete his

 epidemiological study and had embarked on “a far more thorough general causation analysis” via

 literature review that he began in March 2018 at the request of Plaintiffs’ counsel. [Doc. 261-1].

        Defendant argues that Dr. Terry’s April 30, 2018 report is not a supplementation to his

 previous reports because he now “provides new opinions that are based entirely upon a newly-

 conducted ‘causation analysis.’” [Doc. 264 at 2]. Defendant points out that Dr. Terry never

 completed his epidemiological study or provided any of the data from that study to Defendant that

 Dr. Terry purported to rely upon. [Id. at 6]. Thus, Dr. Terry’s latest report does not merely offer

 corrections to his previous reports or fill in the gaps of missing information, but, instead, it offers

 a new analysis, theories, and basis to support Plaintiffs’ theory on general causation. [Id. at 6-7].

 Plaintiffs counter that Dr. Terry’s report qualifies as a supplementation. [Doc. 261 at 16-17].

 Because Dr. Terry could not secure complete responses from the control group for his

 epidemiological study, Plaintiffs submit that his earlier reports became “incomplete and incorrect”

 under Rule 26(e), and the “only other choice for an expert opinion on general causation was to

 conduct a general causation analysis of the published epidemiologic literature . . . .” [Id. at 17].

 In other words, Plaintiffs argue that supplementation occurred because “the information upon

 which [Dr. Terry] intended to base his opinions was incomplete.” [Id. at 18]. The Court finds

 Plaintiffs’ position contrary to the requirements of Rule 26.

        As an initial matter, the Court reiterates the Sixth Circuit Court of Appeals’ holding that

 Rule 26(a)(2)(B), which governs the requisite criteria that “must” be included in an expert’s written

 report, mandates that a report “be complete such that opposing counsel is not forced to depose an

 expert in order to avoid an ambush at trial; and moreover the report must be sufficiently complete

 so as to shorten or decrease the need for expert depositions and thus to conserve resources.” R.C.



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 Olmstead, Inc., 606 F.3d at 271 (quotation omitted) (emphasis added). Here, Dr. Terry never

 provided a complete report until April 30, 2018, a year after Plaintiffs’ expert disclosure deadline

 had passed and in response to Defendant’s motion for partial summary judgment. Dr. Terry’s

 initial two-page report disclosed on July 14, 2017, merely provided conclusory opinions that

 Plaintiffs’ exposure to fly ash at the Site increased the risk of the diseases and conditions alleged

 by Plaintiffs. The report vaguely described “the basis and reasons” of Dr. Terry’s opinions while

 entirely failing to set forth the “facts or data considered” or the exhibits anticipated to be used in a

 “sufficiently complete” manner as to provide Defendant fair notice “in order to avoid an ambush

 at trial.” See Fed. R. Civ. Pro. 26(a)(2)(B)(i)-(iii); R.C. Olmstead, Inc., 606 F.3d at 271. For

 example, Dr. Terry stated he relied upon epidemiological health care questionnaires in forming his

 opinions but such questionnaires have never been produced to Defendant, and as it turns out, they

 were not completed by the control group. Dr. Terry also stated he relied upon various medical

 literature and other publications from numerous sources and institutes without precisely

 identifying the material in any meaningful way as to allow Defendant the opportunity to review

 the literature. [See Doc. 237-1 at ¶2].

        While Dr. Terry’s second six-page report produced on October 27, 2017, clarified the

 methodology relied upon in forming his opinions—a retrospective observational and historical

 cohort study in which the questionnaires would be utilized in collecting data—the report was

 anything but complete.      Dr. Terry conceded that he “intends” to base his opinions on an

 epidemiological study which remains “incomplete” but he “anticipates” the study will support his

 conclusion that Plaintiffs’ alleged injuries were capable of being caused by fly ash exposure. [Doc.

 205-6]. It was only after Dr. Terry issued his most recent, 95-page written report on April 30,

 2018, in which he now bases his opinions on an alternative methodology via literature review,



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 could his report be considered complete under Rule 26.

        While Rule 26(e) permits supplementation of an expert’s written report “if the party learns

 that in some material respect the disclosure . . . is incomplete or incorrect,” “[i]t is not mere

 ‘supplementation’ when a party submits a manifestly incomplete report lacking analysis or a

 supporting rationale, waits for the summary judgment deadline to pass, and then submits a fuller

 report that contains actual reasoning.” Ullman v. Auto-Owners Mut. Ins. Co., No. 2:05-CV-1000,

 2007 WL 1057397, at *4 (S.D. Ohio Apr. 5, 2007). The rule “simply does not contemplate

 supplying wholly missing information . . . .” Id. Yet, this is precisely the predicament Plaintiffs

 find themselves in today.

        Plaintiffs had a duty to produce a complete report with actual and supportive reasoning by

 the deadline imposed by the Court for expert disclosures. See Fed. R. Civ. P. 26(a)(2)(D). When

 no report was produced from Dr. Terry by Plaintiffs’ May 1, 2017 expert disclosure deadline, the

 Court extended leniency to Plaintiffs and afforded them an opportunity to correct the deficiency.

 Instead, Plaintiffs produced two reports from Dr. Terry—his July and October 2017 reports—that

 fall short of a Rule 26 expert report. Both reports were preliminary in nature and expressed

 opinions that were based on an incomplete study, the data available from the study was never

 produced to Defendant, and the reports offered inconclusive reasoning and limited analysis. See

 Wronke v. Champaign County Sheriff’s Office, 132 F. App’x 58, 61 (7th Cir. 2005) (“Among a

 host of defects, the report lacked any reasoning in support of the purported expert’s conclusions.

 Thus, the district court acted within its discretion in striking it.”) (citing Fed. R. Civ. P.

 26(a)(2)(B)). It was not until Plaintiffs responded to Defendant’s motion for partial summary

 judgment on April 30, 2018, that a complete and third report was produced from Dr. Terry.

 However, this report did more than correct incomplete or incorrect information; the report offered



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 entirely different theories and a new methodology that Dr. Terry began working on in March 2018.

        The Court finds no merit in Plaintiffs’ contention that Dr. Terry’s inability to complete his

 epidemiological study rendered his prior reports “incomplete or incorrect” within the meaning of

 Rule 26(e). “Rule 26(e) envisions supplementation when a party’s discovery disclosures happen

 to be defective in some way so that the disclosure was incorrect or incomplete and, therefore,

 misleading. It does not cover failures of omission because the expert did an inadequate or

 incomplete preparation.” Akeva L.L.C. v. Mizuno Corp., 212 F.R.D. 306, 310 (M.D.N.C. 2002)

 (citation omitted).

        Therefore, Dr. Terry’s third report cannot reasonably be said to be a supplementation where

 his previous reports only expressed preliminary opinions based on an incomplete epidemiological

 study. This District has previously observed that Rule 26 does not permit what Plaintiffs now seek

 to do with Dr. Terry’s third report—that is, “Rule 26’s duty to supplement is not a declaration of

 open season for experts to undertake new analyses or to evolve their opinions.” Am. Nat. Propery

 & Cas. Co. v. Stutte, No. 3:11-CV-219, 2015 WL 2095868, at *4 (E.D. Tenn. May 5, 2015)

 (finding an expert’s third report that undertook a different analysis to remedy uncertainties

 expressed in the first report constituted a new opinion, and the report was therefore excluded as

 untimely under Rule 26).

        Accordingly, the Court finds that Dr. Terry’s third report is not a supplementation but a

 new report. See Pluck v. BP Oil Pipeline Co., 640 F.3d 671, 681 (6th Cir. 2011) (upholding the

 district court’s finding that an expert’s report was not a supplementation because it “contradicted

 his prior causation opinion and attempted ‘to introduce an entirely new methodology well after the

 point at which it would be proper.’”); Ullman, 2007 WL 1057397 at *6 (“By seeking to transform

 a conclusory report via supplementation, Plaintiff is in effect essentially and impermissibly



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 presenting a new opinion.”). To conclude otherwise would make the disclosure requirements of

 Rule 26(a)(2)(B) illusory. See Allgood v. General Motors Corp., No. 1:02-cv-1077, 2007 WL

 647496, at *3-4 (S.D. Ind. Feb. 2, 2007) (observing that the danger of allowing new reports to

 come in under the guise of supplementation “would create a system where preliminary reports

 could be followed by supplementary reports” and “there would be no finality to expert reports. . .

 . This practice would surely circumvent the full disclosure requirement implicit in Rule 26.”)

 (quotation omitted).

        Having found that Dr. Terry’s third report is a new report, the Court must now determine

 whether Rule 37(c) requires exclusion of the report.

        B.      Federal Rule of Civil Procedure Rule 37

        “A violation of Rule 26 gives rise to the application of Rule 37(c)(1) . . . .” Eiben v. Gorilla

 Ladder Co., No. 11-CV-10298, 2013 WL 1721677, at *4 (E.D. Mich. Apr. 22, 2013). Rule

 37(c)(1) states as follows:

                If a party fails to provide information or identify a witness as
                required by Rule 26(a) or (e), the party is not allowed to use that
                information or witness to supply evidence on a motion, at a hearing,
                or at a trial, unless the failure was substantially justified or is
                harmless.

        “Federal Rule of Civil Procedure 37(c)(1) requires absolute compliance with Rule 26(a),

 that is, it ‘mandates that a trial court punish a party for discovery violations in connection with

 Rule 26 unless the violation was harmless or is substantially justified.’” Roberts ex rel. Johnson

 v. Galen of Virginia, Inc., 325 F.3d 776, 782 (6th Cir. 2003)) (quoting Vance v. United States, No.

 98–5488, 1999 WL 455435, at *3 (6th Cir. June 25, 1999)). The party in violation of Rule 26

 bears the burden to prove harmlessness. Id. “District courts have broad discretion to exclude

 untimely disclosed expert-witness testimony.” Pride v. BIC Corp., 218 F.3d 566, 579 (6th Cir.



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 2000).

          The Sixth Circuit Court of Appeals has set forth a five-factor test to determine whether a

 party’s late disclosure is substantially justified or harmless:

                 (1) the surprise to the party against whom the evidence would be
                 offered; (2) the ability of that party to cure the surprise; (3) the extent
                 to which allowing the evidence would disrupt the trial; (4) the
                 importance of the evidence; and (5) the nondisclosing party’s
                 explanation for its failure to disclose the evidence.

 Howe v. City of Akron, 801 F.3d 718, 748 (6th Cir. 2015) (quoting with approval Russell v.

 Absolute Collection Servs., Inc., 763 F.3d 385, 396-97 (4th Cir. 2014)).

          With these factors in mind, the Court first considers the surprise to Defendant as a result

 of Plaintiffs’ late disclosure. Plaintiffs do not specifically address this factor. Plaintiffs, however,

 do contend that the report would not prejudice Defendant [Doc. 261 at 20-21], a consideration the

 Court finds is more appropriately assessed under the second factor. Defendant maintains that prior

 to the disclosure of Dr. Terry’s new report, which occurred a year after Plaintiffs’ expert disclosure

 deadline had passed, Plaintiffs never provided any indication to Defendant that Dr. Terry may not

 be able to complete his planned epidemiological study. [Doc. 264 at 10]. During the June 15,

 2018 motion hearing, Defendant reiterated that it was never given any indication from Plaintiffs

 that the study could not be completed and that Dr. Terry had changed the course of his general

 causation analysis beginning in March 2018. [Doc. 102 at 5]. Plaintiffs responded that they first

 became aware in mid-December 2017 that Dr. Terry would not be able to complete his study. [Id.].

 Based on these facts, the Court finds that Dr. Terry’s new report was a surprise to Defendant.

 Despite Plaintiffs knowledge by mid-December 2017 that Dr. Terry would not be able to complete

 his study, Plaintiffs did not communicate this fact until they disclosed Dr. Terry’s new report on

 April 30, 2018, in response to Defendant’s motion for partial summary judgment.



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         The second factor the Court considers is Defendant’s ability to cure the surprise of

 Plaintiffs’ late disclosure. Plaintiffs submit that any prejudice caused to Defendant by the late

 disclosure can be cured by Defendant’s retained expert witnesses, epidemiologist David Hoel,

 Ph.D., and medical toxicologist, Scott D. Phillips, M.D., who have already responded to Dr.

 Terry’s new report by way of declaration filed with Defendant’s reply brief to its motion for partial

 summary judgment. [Doc. 261 at 20] (citing [Docs. 263-1 and 263-2]). Plaintiffs maintain that it

 is therefore unlikely that Defendant would need to retain new experts. [Doc. 261 at 20]. And to

 the extent Dr. Terry’s report needs further probing by Defendant, Plaintiffs submit that ample time

 exists for doing so, including time to depose Dr. Terry. [Id.]. The Court agrees with Plaintiffs that

 Defendant has the ability to cure its surprise without sustaining undue prejudice. At present, trial

 remains almost three months away, offering Defendant the opportunity to examine Dr. Terry’s

 new report further, either through deposition or further rebuttal proof by its experts, Dr. Hoel and

 Dr. Phillips.

         Defendant argues that it has already incurred additional costs having Dr. Hoel and Dr.

 Phillips review and respond to Dr. Terry’s new report, and additional costs would be incurred if

 its experts, or potentially new experts, have to draft an entirely new report that analyzes and

 responds to Dr. Terry’s new report. [Doc. 264 at 11]. However, the Court observes that Dr. Hoel

 and Dr. Phillips have already reviewed Dr. Terry’s report and responded to it, opining that the

 report expresses opinions that are not based on a scientifically valid method and does not address

 the essential elements that, in the experts’ opinions, must be shown to establish general causation.

 [Docs. 263-1 and 263-2]. Defendant has not demonstrated what is further required of their experts

 to rebut Dr. Terry’s report or why it would require the services of new rebuttal experts.

         Defendant also contends that the Court’s reasoning in its March 9, 2018 order, which found



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 that Defendant would be prejudiced by extending the expert disclosure deadline, applies with equal

 force here. [Doc. 264 at 9-10]. In making its previous finding, the Court was faced with Plaintiffs’

 request to introduce three entirely new expert witnesses who had only submitted preliminary

 statements that explained their anticipated methodologies and opinions that were based on studies

 that had yet to be conducted. [Doc. 235 at 14]. The Court expressed doubt that a whole new round

 of expert discovery could be completed in a timely manner without disrupting deadlines in the case

 and without costing Defendant significant time, money, or resources given the preliminary nature

 of the opinions anticipated to be expressed in the reports. [Id.]. These concerns do not present

 themselves in the instant matter.

        Next, the Court considers whether Plaintiffs’ late disclosure would disrupt the trial date,

 which is presently scheduled for October 16, 2018. Given the foregoing arguments by the parties

 regarding prejudice, and the Court’s finding that sufficient time exists for Defendant to cure the

 surprise, the Court likewise finds that the late disclosure would not disrupt the current trial date.

        Fourth, the Court considers the importance of Plaintiffs’ late disclosure. Dr. Terry’s new

 report is undoubtedly important to Plaintiffs’ Phase I burden on general causation. Dr. Terry

 remains Plaintiffs’ only expert witness. Dr. Terry’s testimony is offered to link exposure to fly

 ash and its constituents with many of the injuries alleged by Plaintiffs. Therefore, this factor also

 weighs in favor of Plaintiffs.

        Finally, the Court considers Plaintiffs’ explanation for their late disclosure. Plaintiffs

 explain in their brief, as well as the June 15, 2018 motion hearing, that they, in good faith,

 understood the November 9, 2017 continuance order to have also reset the expert disclosure

 deadline, at which point Plaintiffs began contemplating introducing new expert witnesses in

 addition to those they had already disclosed. [Doc. 261 at 21]; see [Doc. 219] (joint status report



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 submitted by the parties explaining their disagreement as to whether the expert disclosure deadline

 had been reset). Although Plaintiffs learned in mid-December 2017 that Dr. Terry would not

 complete his epidemiological study, Plaintiffs believed they were free to retain new experts to

 opine on general causation, given the continuance order. [Doc. 261 at 21]. Once the Court ruled

 on January 8, 2018, that the expert disclosures deadline had not been reset, and subsequently

 denied Plaintiffs’ request to extend the expert disclosure deadline on March 9, 2018, Plaintiffs

 immediately requested that Dr. Terry conduct a broader general causation analysis. [Id.]. Plaintiffs

 argue that this lead to his new report being disclosed the following month, on April 30, 2018. [Id.].

 Given the parties’ confusion as to whether the expert disclosure deadline had been reset when

 Phase I of the trial was continued, and the procedural history leading up to the Court’s March 9,

 2018 denial to extend the expert disclosure deadline, the Court finds that Plaintiffs have offered a

 reasonable explanation for their untimely disclosure. However, this only explains Plaintiffs’ delay

 from mid-December 2017 forward when they first learned that Dr. Terry was unable to complete

 his epidemiological study. It does not explain, or excuse, Plaintiffs overall failure to provide a

 complete Rule 26 export report in the first instance. Therefore, the Court finds this last factor, at

 best, is neutral.

         Based on the Court’s application of the Howe factors, the Court finds that the factors weigh

 in favor of Plaintiffs. Accordingly, the Court concludes that Plaintiffs’ late disclosure of Dr.

 Terry’s new report was harmless and shall not be excluded under Rule 37(c). The Court now

 considers whether Dr. Terry’s report is admissible under Daubert and Federal Rule of Evidence

 702.

         C.      Daubert Standard and Federal Rule of Evidence 702

         Federal Rule of Evidence 702 governs the admission of expert testimony. It provides:



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                A witness who is qualified as an expert by knowledge, skill,
                experience, training, or education may testify in the form of an
                opinion or otherwise if:

                (a) the expert’s scientific, technical, or other specialized knowledge
                will help the trier of fact to understand the evidence or to determine
                a fact in issue;

                (b) the testimony is based on sufficient facts or data;

                (c) the testimony is the product of reliable principles and methods;
                and

                (d) the expert has reliably applied the principles and methods to the
                facts of the case.

 Fed. R. Evid. 702.

        The Sixth Circuit Court of Appeals has summarized the rule as requiring three elements.

 “First, the witness must be qualified by ‘knowledge, skill, experience, training, or education.’

 Second, the testimony must be relevant, meaning that it ‘will assist the trier of fact to understand

 the evidence or to determine a fact in issue.’ Third, the testimony must be reliable.” In re Scrap

 Metal Antitrust Litig., 527 F.3d 517, 529 (6th Cir. 2008) (quoting Fed. R. Evid. 702 (2000)

 (amended 2011)). When evaluating evidence proffered under Rule 702, the district court must act

 as a gatekeeper, ensuring “that any and all scientific testimony or evidence admitted is not only

 relevant, but reliable.” Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579, 589 (1993).

 Reliability looks at “whether the reasoning or methodology underlying the testimony is

 scientifically valid,” while relevance considers “whether the reasoning or methodology properly

 can be applied to the facts in issue.” Id. at 592-93. The Daubert standard “attempts to strike a

 balance between a liberal admissibility standard for relevant evidence on the one hand and the

 need to exclude misleading ‘junk science’ on the other.” Best v. Lowe’s Home Ctrs., Inc., 563

 F.3d 171, 176-77 (6th Cir. 2009).



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         The Rule 702 inquiry remains “a flexible one,” and the Daubert standard does not

 constitute a definitive checklist or test. Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 138-

 39 (1999) (citing Daubert, 509 U.S. at 593). Therefore, “rejection of expert testimony is the

 exception, rather than the rule.” In re Scrap Metal Antitrust Litig., 527 F.3d at 530 (citing Fed. R.

 Evid. 702 advisory committee’s note, 2000 amend.). “Vigorous cross-examination, presentation

 of contrary evidence, and careful instruction on the burden of proof are the traditional and

 appropriate means of attacking shaky but admissible evidence.” Daubert, 509 U.S. at 596.

         In the end, “a party proffering expert testimony must show by a ‘preponderance of proof’

 that the expert whose testimony is being offered is qualified and will testify to scientific knowledge

 that will assist the trier of fact in understanding and disposing of issues relevant to the case.” Pride

 v. BIC Corp., 218 F.3d 566, 578 (6th Cir. 2000).

         At the outset of its analysis, the Court notes that toxic tort cases are generally divided into

 “two broad categories: first, those cases in which the medical community generally recognizes the

 toxicity of the drug or chemical at issue, and second, those cases in which the medical community

 does not generally recognize the agent as both toxic and causing the injury plaintiff alleges.”

 McClain v. Metabolife Int’l, Inc., 401 F.3d 1233, 1239 (11th Cir. 2005). The first category of toxic

 tort cases does not require extensive Daubert review regarding the general toxicity of the substance

 at issue because the substance is medically recognized to cause the type of harm a plaintiff alleges.

 Id. An example of such a substance would be cigarette smoke which is well known to cause

 cancer. Id. Therefore, “the battleground in this first category of cases focuses on plaintiff-specific

 questions,” i.e., specific causation, which asks, “was plaintiff exposed to the toxin, was plaintiff

 exposed to enough of the toxin to cause the alleged injury, and did the toxin in fact cause the

 injury?” Id.; see Jerome P. Kassirer et al., Reference Guide on Epidemiology, Reference Manual



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                                    9041
 on Scientific Evidence 627 (Federal Judicial Center, 3d ed. 2011) (defining “specific causation”

 as “[w]hether exposure to an agent was responsible for a given individual’s disease.”).

        While plaintiff-specific questions likewise play a part in the second category of toxic tort

 cases, the second category of cases also includes an equally important counterpart that must first

 be addressed: “the general questions of whether the drug or chemical can cause the harm plaintiff

 alleges.” McClain, 401 F.3d at 1239. This is known as general causation. Id. General causation

 addresses “whether the combination of the chemical contaminants and the plaintiffs’ exposure to

 them had the capacity to cause the harm alleged.” Sterling v. Velsicol Chem. Corp., 855 F.2d

 1188, 1200 (6th Cir. 1988); see Kassirer, supra, 623 (defining general causation as “whether an

 agent increases the incidence of disease in a group and not whether the agent caused any given

 individual’s disease. Because of individual variation, a toxic agent generally will not cause disease

 in every exposed individual.”). The distinction between the two types of toxic tort cases highlights

 the importance that general causation plays in the second category of cases, such as the cases at

 present in which Phase I of the bifurcated trial plan addresses general causation by assessing

 “whether defendant’s breach was capable of causing plaintiffs’ alleged injuries.” [Doc. 136 at 7].

         In the present matter, Defendant contends that Dr. Terry’s opinions cannot survive

 Daubert scrutiny because he has not conducted a “valid” epidemiological study which, according

 to Defendant’s expert witness, must address “Plaintiffs’ alleged exposure to fly ash” and “the

 essential elements of exposure and dose within the study group, i.e., Plaintiffs.” [Docs. 264 at 13-

 18 and 263-1 at 4-5] (emphasis in original). These “essential elements” of dose and exposure4 are:



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           The Court notes that dose and exposure are related but not identical terms. David L.
 Eaton, Scientific Judgment and Toxic Torts—A Primer In Toxicology For Judges And Lawyers, 12
 J.L. POL’Y 1, 11 (2003). Dose is “the amount of chemical that enters the body,” while exposure
 is “the presence of a chemical in a medium (e.g., air, water, food) that allows for direct contact
 with potential sites of absorption (e.g., gastrointestinal tract, lungs, skin).” Id. “Frequency and
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                (1) the minimum levels at which any of the constituents found in fly
                ash can cause the types of harm alleged; (2) the doses to which
                Plaintiffs might have been exposed at Kingston, or the duration of
                their possible exposure; or (3) the extent to which Plaintiffs’
                exposure to fly ash equated to the constituents of fly ash.

 [Doc. 264 at 16-17]. The failure of Dr. Terry’s report to address these elements, Defendant

 maintains, renders him unqualified to opine on general causation and his report unreliable.

 Plaintiffs concede that Dr. Terry does not address any of the foregoing elements, but they argue

 that the lack of quantification of exposure data is not relevant to the question of general causation.

 [Doc. 261 at 11]. Rather, Plaintiffs argue, it is an issue reserved for Phase II of the trial during

 which specific causation will be addressed. [Id.].

        In considering the parties’ competing positions as to what role, if any, dose and exposure

 play within the general causation analysis, the Court begins by examining the case law within this

 Circuit upon which the parties rely to support their respective positions. Both parties cite to the

 Sixth Circuit’s decision in Sterling which, as noted above, defines general causation as “whether

 the combination of the chemical contaminants and the plaintiffs’ exposure to them had the capacity

 to cause the harm alleged.” 855 F.2d at 1200. Sterling involved a class action lawsuit in which

 the plaintiffs alleged injuries resulting from drinking water that had been contaminated by the

 defendant’s chemical waste burial site. Id. at 1192-93. The Sterling Court emphasized the

 importance of differentiating between general and specific causation in mass tort litigation. Id. at

 1200. Although the Court’s primary concern on review was whether specific causation had been




 duration of exposure are important elements of ‘dose.’” Id. at 12. For example, “for the vast
 majority of chemicals and types of responses, there are doses below which no individual will
 respond (e.g., a “threshold”) and doses above which nearly everyone responds.” Id. “For most
 types of dose-response relationships following chronic (repeated) exposure, thresholds exist, such
 that there is some dose below which even repeated, long term exposure would not cause an effect
 in any individual.” Id. at 16.
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 established in individual cases, id. at 1199-1201, the Court’s decision underscored the burden

 plaintiffs’ face in establishing general causation. Specifically, the plaintiffs had to establish “that

 the particular contaminants were capable of producing injuries of the types allegedly suffered by

 the plaintiffs.” Id. at 1200 (emphasis in the original).

        The parties cite two different cases from this District to support their competing positions

 on whether dose and exposure are elements of the general causation inquiry. First, Defendant

 relies on In re Tennessee Valley Auth. Ash Spill Litig., 805 F. Supp. 2d 468 (E.D. Tenn. 2011) (CJ.

 Varlan) which involved a consolidated action related to the subject coal ash spill. A number of

 residents, property owners, and businesses owners within the vicinity of the ash spill brought suit

 against TVA, alleging various tort law causes of action. Id. at 473. Granting TVA’s motion for

 summary judgment, the Court concluded that the plaintiffs could not meet their burden on the

 question of causation. Id. at 482. Defendant, here, cites to the Court’s holding to support its

 position that general causation requires evidence of dose and exposure data:

                Viewing this evidence in the light most favorable to
                plaintiffs, the Court concludes that plaintiffs have not
                established a genuine issue of fact that their exposure to the
                coal or fly ash in the environment equates to an exposure to
                the potentially toxic constituents bound up in the ash.
                Plaintiffs have not put forth evidence of a causation link
                between exposure to the ash and a specific personal injury,
                respiratory symptom, or emotional distress. Although
                plaintiffs argue that exposure to the toxic constituents in the
                ash exists by virtue of the presence of ash in the environment,
                the mere existence of a toxin in the environment is
                insufficient to establish causation without proof that the
                individual was actually exposed to the toxin and at a level
                sufficient to cause injury or stress. Similar to the plaintiffs
                in Sterling and Robinson, plaintiffs have not shown actual
                exposure to the potentially toxic constituents in the ash or
                brought forth evidence that a plaintiff ingested or used the
                ash at the requisite level to have resulted in a personal injury
                or emotional distress. Moreover, plaintiffs have not set forth
                a minimum level of exposure for personal injury or

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                emotional distress, let alone that a certain plaintiff ingested
                or used enough of the ash to make a claim viable.
                Furthermore, plaintiffs have not provided toxicological
                evidence or health reports and screenings that refute the
                evidence and reports submitted by TVA. Rather, plaintiffs
                have only provided evidence that the constituents in coal and
                fly ash may, at certain levels, cause injury and stress.

 Id. (emphasis added).

        Notably, the Court’s analysis focuses on the plaintiffs’ failure to put forth evidence of “their

 exposure.” The decision makes clear that the mere existence of exposure to a toxin will be

 insufficient to establish a causal link between exposure and “a specific personal injury,” and that

 evidence of actual exposure and at a sufficient level to cause the alleged injuries must be shown.

 There is no holding in the decision that these elements are essential to the general causation

 inquiry. Rather, they appear to answer the questions posed by specific causation, which asks, “was

 plaintiff exposed to the toxin, was plaintiff exposed to enough of the toxin to cause the alleged

 injury, and did the toxin in fact cause the injury?” See McClain, 401 F.3d at 1239. Moreover, in

 making its finding, the Court relied on Sterling’s specific causation analysis for guidance. In re

 Tennessee Valley Auth. Ash Spill Litig., 805 F. Supp. 2d at 473 (citing Sterling, 855 F.2d at 1200

 (observing that it is “the responsibility of each individual plaintiff to show that his or her specific

 injuries or damages were proximately caused by ingestion or otherwise using the contaminated

 water” and that “generalized proofs will not suffice to prove individual damages”)). The Court’s

 emphasis on the similarities between the plaintiffs in that case with the Sterling plaintiffs further

 suggests to this Court that Defendant’s reliance on In re Tenseness Valley Auth. Ash Spill Litig., is

 misplaced.

        The second case cited, and relied on by Plaintiffs, is Downs v. Perstorp Components, Inc.,

 126 F. Supp. 2d 1090, 1095 (E.D. Tenn. 1999), aff’d., 26 F. App’x 472, 200 WL 22000, at *1 (6th



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 Cir. 2002). [Doc. 261 at 13]. Downs involved a products liability case in which the plaintiff

 alleged he sustained certain personal injuries following skin contact and inhalation exposure to

 Rubiflex. 126 F. Supp. 2d at 1093.         In granting the defendant’s motion to exclude expert

 testimony, the Court found that the expert’s opinions were “essentially based upon his

 determination, without any scientific basis, that all injuries which occur after exposure to a

 chemical compound must be causally related to and result from the individual’s exposure to

 chemicals.” Id. at 1128. Plaintiffs in the present cases rely on the following excerpt for the

 proposition that dose is an issue reserved for specific causation:

                To establish general causation, an expert either performs scientific
                tests on the chemical to see if it can cause the condition in animals
                or humans, analyzes the existing scientific literature to determine
                whether other scientists have performed these tests and what their
                results were, or does both. To establish specific causation, an expert
                must first complete the general causation analysis, and then must
                establish, at a minimum:

                        ...

                        • Dose–Response. The individual had contact with the
                        chemical (exposure), and the amount of chemical absorbed
                        into the body (dose) was of sufficient magnitude and
                        duration to be capable of producing the alleged effect.

 Id. at 1095.

        The quoted passage, however, is not a finding made by the Court. Rather, it is a

 summarization of the defendants’ position as to what it believed were the elements of specific

 causation. See id. at 1093-99 (summarizing the “Positions of the Parties,” including “Defendants’

 Assertions,” at the outset of the opinion). Although the Court agreed with the defendants that the

 plaintiff’s expert proof was not reliable under Daubert, the Court did not make any finding that

 explicitly adopted the defendants’ position on specific causation or distinguished the role dose-

 response played in general versus specific causation.

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        The parties have not cited, nor has the Court found, any controlling precedent in this Circuit

 that has held that evidence of dose, or the level of exposure at which a chemical causes harm, are

 requisite elements in establishing general causation in a toxic tort case. That is not to say that dose

 and exposure do not matter. Indeed, several circuit courts appear to confirm that dose and exposure

 analysis is necessary to establish general causation. For example, the Eleventh Circuit in McClain

 excluded an opinion on general causation where the expert’s opinion neglected “the hallmark of

 the science of toxic torts—the dose-response relationship.” 401 F.3d at 1240. The “dose-response

 relationship” is “a relationship in which a change in amount, intensity, or duration of exposure to

 an agent is associated with a change—either an increase or a decrease—in risk of disease.”

 Kassirer, supra, at 622.

        McClain involved four plaintiffs who claimed they sustained personal injuries after taking

 an herbal weight-loss supplement called Metabolife 356. 401 F.3d at 1236. While the expert

 opined on the supplement’s toxicity, his failure to offer any testimony regarding “how much is too

 much,” signaled a methodology problem for the court:

                In toxic tort cases, “[s]cientific knowledge of the harmful level of
                exposure to a chemical plus knowledge that plaintiff was exposed to
                such quantities are minimal facts necessary to sustain the plaintiff’s
                burden . . . .” Allen v. Pennsylvania Eng’g Corp., 102 F.3d 194, 199
                (5th Cir. 1996). Or, as the Court of Appeals for the Tenth Circuit
                explained in Mitchell v. Gencorp, 165 F.3d 778, 781 (10th Cir.
                1999), to carry the burden in a toxic tort case, “a plaintiff must
                demonstrate ‘the levels of exposure that are hazardous to human
                beings generally as well as the plaintiff’s actual level of exposure to
                the defendant’s toxic substance before he or she may recover,’”
                (quoting Wright v. Willamette Indus., Inc., 91 F.3d 1105, 1106 (8th
                Cir.1996)); see also Moore v. Ashland Chem. Inc., 151 F.3d 269,
                278 (5th Cir. 1998) (excluding expert testimony which “offered no
                scientific support for his general theory that exposure to toluene
                solution at any level would cause RADS.”).

                Although Plaintiffs can testify about how much Metabolife 356 they
                took, O’Donnell could not provide any opinions about the general

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                 dose-response levels for Metabolife’s toxicity, i.e., the dose or level
                 of exposure at which it causes harm. O’Donnell opined that any
                 level is too much, but this statement conflicts with the importance
                 of individual responses to toxins—“[b]ecause of individual
                 variation, a toxic agent generally will not cause disease in every
                 person exposed.”

 McClain, 401 F.3d at 1241 (quoting Kassirer, supra, at 623). The court cautioned that “[t]he expert

 who avoids or neglects this principle of toxic torts without justification cast suspicion on the

 reliability of his methodology.” Id. at 1242

         As indicated in McClain, other circuit courts have echoed the importance of the dose-

 response relationship in the general causation inquiry. See Mitchell, 165 F.3d at 781; Wright, 91

 F.3d at 1106; Allen, 102 F.3d at 199; see also Bland v. Verizon Wireless, (VAW) L.L.C., 538 F.3d

 893, 898 (8th Cir. 2008) (upholding the district court’s decision to exclude an expert’s opinion on

 general causation that demonstrated a “lack of knowledge as to [] ‘what amount of exposure to

 [the] difluoroethane-containing Freon causes, or involves an appreciable risk of causing,

 asthma’”); In re Hanford Nuclear Reservation Litig., 292 F.3d 1124, 1133 (9th Cir. 2002) (“[W]e

 believe the appropriate understanding of generic causation is the one plaintiffs assert: whether

 exposure to a substance for which a defendant is responsible, such as radiation at the level of

 exposure alleged by plaintiffs, is capable of causing a particular injury or condition in the general

 population,” and concluding that “Plaintiffs’ expert evidence is . . . consistent with their claimed

 understanding of generic causation, since plaintiffs would have to show exposure to more than de

 minimis emissions to establish generic causation.”); Bonner v. ISP Techs., Inc., 259 F.3d 924, 928

 (8th Cir. 2001) (general causation requires a showing “that the alleged toxin is capable of causing

 injuries like that suffered by the plaintiff in human beings subjected to the same level of exposure

 as the plaintiff”).

         While mindful of these decisions from outside the Sixth Circuit, the Court concludes that

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 it need not determine whether general causation requires evidence of dose and exposure for

 Daubert purposes. [Doc. 261-1 at 4]. What Plaintiffs are required to prove in order to establish

 general causation is a legal question that is central to Defendant’s motion for partial summary

 judgment currently pending before Chief District Judge Varlan. The only questions this Court

 need presently answer are: (1) whether Dr. Terry is qualified to opine on general causation in a

 toxic tort case, and (2) whether his opinion that specific components found in fly ash at the Site—

 fine particulate matter, arsenic, cadmium, chromium, lead, nickel, vanadium, and naturally

 occurring radioactive materials—are capable of causing hypertension, coronary artery disease,

 lung cancer, leukemia, non-melanoma skin cancer, allergic contact dermatitis (skin allergy),

 peripheral neuropathy, asthma, and chronic obstructive pulmonary disease, is relevant and reliable.

 See In re Scrap Metal Antitrust Litig., 527 F.3d at 529. Thus, whether Dr. Terry’s report satisfies

 Plaintiff’s burden on general causation is a separate and distinct question that is appropriately

 addressed through summary judgment.

          Accordingly, the Court first considers whether Dr. Terry is qualified to offer opinions in

 the general field of epidemiology. “Epidemiology is the field of public health and medicine that

 studies the incidence, distribution, and etiology of disease in human populations.” Kassirer, supra,

 551. The focus of epidemiology addresses “the question of general causation (i.e., is the agent

 capable of causing disease?). . . .” Id. at 552. “Whether a proposed expert’s experience is sufficient

 to qualify the expert to offer an opinion on a particular subject depends on the nature and extent

 of that experience.” See United States v. Cunningham, 679 F.3d 355, 379 (6th Cir. 2012).

        Dr. Terry is an epidemiologist and Fellow of the American College of Epidemiology who

 has over 15 years of experience in the field. [Doc. 261-3]. He currently serves as an Associate

 Professor for the Department of Medicine, Graduate School of Medicine, at the University of



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 Tennessee Medical Center. [Id. at 3]. Dr. Terry holds a medicine doctorsexamen from the

 Department of Medical Epidemiology and Biostatistics, Karolinska Institute, Stockholm, Sweden,

 and a Ph.D., in Epidemiology from the Department of Epidemiology, Columbia-Presbyterian

 Medical Center. [Doc. 261-3]. Dr. Terry’s contribution to research projects, lectures, and

 publications in the field of epidemiology are too numerous to list. [Id. at 11-29]. Based on Dr.

 Terry’s training and experience in the field of epidemiology, the Court finds he is qualified to

 render opinions on whether exposure to a particular chemical is capable of causing a particular

 disease.

        Turning to the reliability of Dr. Terry’s report, Defendant argues that Dr. Terry’s report is

 unreliable because it does not address the “minimum level” of dose or exposure in which fly ash

 creates an appreciable risk of harm. [Docs. 264 at 13-18 and 270 at 39-55]. However, as the Court

 observed above, the failure of Dr. Terry’s methodology to quantify dose or exposure goes to the

 issue of whether Plaintiffs have met their burden on general causation and not to the admissibility

 of Dr. Terry’s report. See United States v. L.E. Cooke Co., 991 F.2d 336, 342 (6th Cir. 1993)

 (“[W]eaknesses in the factual basis of an expert witness’ opinion . . . bear on the weight of the

 evidence rather than on its admissibility.”); Spears v. Cooper, No. 1:07-cv-58, 2008 WL 5552336,

 at *5 (E.D. Tenn. Nov. 17, 2008) (“[C]redibility attacks, such as the use of incorrect or incomplete

 data in formulating an opinion, are intended for cross-examination.”).

        Defendant also complains that the literature Dr. Terry relies upon undermines the reliability

 of his report because very few of the cited articles address exposure to fly ash and the few that do

 fail to conclusively support a finding that exposure to fly ash causes a particular health issue. [Doc.

 264 at 18-19]. Moreover, Defendant asserts that the report fails to establish that the exposures and

 doses that are addressed in the literature are similar to the conditions that Plaintiffs experienced at



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 the Site. [Id. at 19-20]. The Court, however, concludes that Dr. Terry does not opine that fly ash

 exposure is capable of causing Plaintiff’s particular health issues; rather, he seeks to answer

 whether “specific components” that have been identified within the fly ash at the Site are capable

 of causing specific diseases reported by Plaintiffs. [Doc. 261-1 at 5]. This distinction is important

 because it highlights the focus of Dr. Terry’s proposed testimony, and it demonstrates why dose

 and fly ash exposure are not particularly relevant to determining the admissibility of Dr. Terry’s

 report under Daubert.

         Sterling merely directs a plaintiff to put forth evidence that a chemical is “capable” of

 causing the harm alleged for purposes of general causation. Under this framework, the Court finds

 Dr. Terry’s report is reliable and relevant. First, Dr. Terry’s report is reliable because for each

 component identified within the fly ash that is asserted to be capable of causing a specific disease,

 Dr. Terry cites and discusses corresponding epidemiological literature, identifies and summarizes

 the type of studies, and conclusions therein, conducted within the cited literature, and discusses

 the bioavailability, biologic plausibility, and biologic mechanisms of cause and effect. Second,

 Dr. Terry’s report is relevant because it offers opinions in the field of epidemiology which, as

 noted above, focuses on the question of general causation. Thus, Dr. Terry’s report will most

 certainly assist the trier of fact in Phase I of the trial.

         Under Daubert, the “overarching subject is the scientific validity—and thus the evidentiary

 reliance and reliability—of the principles that underlie a proposed submission. The focus, of

 course, must be solely on principles and methodology, not on the conclusions that they generate.”

 509 U.S. at 594-95. Based on the foregoing, the Court finds that the principles and methodology

 utilized by Dr. Terry is scientifically valid. Dr. Terry’s professional experience and knowledge

 within the field of epidemiology, along with the literature review he has conducted, satisfies the



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 Court that Dr. Terry is not only qualified to opine on whether specific components found within

 fly ash at the Site are capable of causing particular diseases, but said opinion is also relevant and

 reliable for purposes of assisting the trier of fact in assessing “whether defendant’s breach was

 capable of causing plaintiffs’ alleged injuries.”

 V.     Conclusion

        For the reasons stated herein, Defendant Jacobs Engineering Group, Inc.’s Motion to

 Exclude Opinions of Plaintiffs’ Experts on General Causation [Doc. 240 in Adkisson, 3:13-CV-

 505; Doc. 235 in Thompson, 3:13-CV-666; Doc. 216 in Cunningham, 3:14-CV-20; Doc. 162 in

 Rose, 3:15-CV-17; Doc. 170 in Wilkinson, 3:15-CV-274; Doc. 151 in Shelton, 3:15-CV-420; Doc.

 153 in Church, 3:15-CV-460; Doc. 155 in Vanguilder, 3:15-CV-462; Doc. 81 in Ivens, 3:16-CV-

 635; and Doc. 77 in Farrow, 3:16-CV-636] is DENIED.

        IT IS SO ORDERED.

                                                ENTER:



                                                United States Magistrate Judge




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